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 8
 9                               UNITED STATES DISTRICT COURT
10                                      DISTRICT OF ARIZONA
11   Advocates for Individuals with Disabilities              Case No.
     Foundation, Inc.,
12                                                            NOTICE OF REMOVAL
                           Plaintiff,
13                                                            (Removed from the Superior Court of
     v.                                                       Arizona, County of Maricopa, No.
14                                                            CV2016-008846)
     Waterfall Shopping Center, Inc.,
15
                           Defendant.
16

17          Pursuant to 28 U.S.C. §§ 1441 and 1446, defendant Waterfall Shopping Center, Inc.
18   ("defendant") gives notice of the removal of this action from the Superior Court of the State of
19   Arizona, Maricopa County, to the United States District Court for the District of Arizona, based
20   upon the following grounds:
21                           Filing of Complaint and Receipt by Defendants
22          1.     On or about August 2, 2016, the plaintiff Advocates for Individuals with
23   Disabilities Foundation, Inc. ("plaintiff") commenced this action by filing a Complaint in the
24   Superior Court of the State of Arizona, for the County of Maricopa, Cause No. CV2016-008846.
25   Defendant received a copy of the complaint via service of process on its statutory agent on
26   August 15, 2016.


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 1          2.      Thirty days have not passed since defendant first received any copy of the initial

 2   pleading setting forth the claim for relief.

 3          3.      The Complaint (hereafter "Complaint") seeks declaratory and injunctive relief,

 4   damages, costs, and fees for alleged violations of the Americans with Disabilities Act, 42 U.S.C.

 5   §§ 12102 et seq. (the “ADA”); and the Arizonans With Disabilities Act, A.R.S. §§ 41-1492 et

 6   seq. (the “AzDA”).

 7                                     Federal Question Jurisdiction

 8          4.      Plaintiff's Complaint arises under the laws of the United States, specifically the

 9   ADA, thus giving rise to federal question jurisdiction within the meaning of 28 U.S.C. § 1331,

10   and this action is removable under 28 U.S.C. § 1441 as one of which the District Court has

11   original jurisdiction.

12          5.      This court has supplemental jurisdiction over plaintiff’s AzDA claims pursuant to

13   28 U.S.C. § 1367, because those claims are so related to the ADA claims that they form part of

14   the same case or controversy.

15                                 Compliance With Removal Procedure

16          6.      All process, pleadings, and orders that have been served in this case are attached to

17   this Notice of Removal as required by 28 U.S.C. § 1446(a) and Rule 3.6(b), Local Rules of

18   Practice for the United States District Court for the District of Arizona. Undersigned counsel

19   hereby verifies that the attached are true and complete copies of such process, pleadings, and

20   orders attached hereto as “Exhibit A.”

21          7.      Pursuant to 28 U.S.C. § 1446(d) and Rule 3.6(b), Local Rules of Practice for the

22   United States District Court for the District of Arizona, defendant will file a copy of this Notice

23   of Removal with the Clerk of the Superior Court of the State of Arizona for the County of

24   Maricopa, and a copy of the Notice of Removed Action to be filed in that court is attached hereto

25   as “Exhibit B.”

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 1          RESPECTFULLY SUBMITTED this 14th day of September, 2016.

 2                                      DICKINSON WRIGHT, PLLC

 3
                                        By: /s/ Scot L. Claus
 4                                          Scot L. Claus
 5                                          Mitesh V. Patel
                                            1850 N. Central Avenue, Suite 1400
 6                                          Phoenix, Arizona 85004-4568
                                            Attorneys for Defendant
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 1                                    CERTIFICATE OF SERVICE
            I hereby certify that on September 14, 2016, I electronically transmitted the attached
 2
     document to the Clerk of the Court using the CM/ECF system, and which will be sent
 3   electronically to all registered participants as identified on the Notice of Electronic Filing, and
     paper copies will be sent to those indicated as non-registered participants.
 4

 5                                              By: /s/ Sheila Rath
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